      Case 1:20-cv-00687-GTS-DJS Document 25 Filed 07/01/20 Page 1 of 6




UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK


ASSOC. OF JEWISH CAMP OPERATORS, et al.

                                           Plaintiffs,

                        -against-                                 20-CV-00687

ANDREW M. CUOMO, Governor of the State of New                     (GLS)(DJS)
York, in his official capacity,

                                         Defendants.



    SUPPLEMENTAL MEMORANDUM OF LAW IN FURTHER OPPOSITION TO
     PLAINTIFFS’ APPLICATION FOR PRELIMINARY INJUNCTIVE RELIEF


                                         LETITIA JAMES
                                         Attorney General of the State of New York
                                         Attorney for Defendant Andrew M. Cuomo
                                         The Capitol
                                         Albany, New York 12224

Chris Liberati-Conant
Assistant Attorney General, of Counsel
Bar Roll No. 700466
Telephone: (518) 776-2584
christopher.liberati-conant@ag.ny.gov                                Date: July 1, 2020
        Case 1:20-cv-00687-GTS-DJS Document 25 Filed 07/01/20 Page 2 of 6




                              PRELIMINARY STATEMENT

        Defendant Andrew Cuomo, in his official capacity as Governor of the State of New

York, submits this supplemental memorandum of law in further opposition to

preliminary relief, as permitted by the Court in its decision of June 30, 2020. As the State

demonstrated in its initial submissions opposing preliminary relief, plaintiffs did not

meet their high burden of demonstrating entitlement to a temporary restraining order or

preliminary injunction. Accordingly, this memorandum of law and the accompanying

Supplemental Declaration of Brad Hutton are limited to addressing questions raised by

the Court during the June 30, 2020 argument.


   I.      Rational Basis Is the Appropriate Standard of Review for All of Plaintiffs’
           Claims.

        The standard of review for all of plaintiffs’ claims is rational basis. The South Bay

and Amato decisions take slightly different paths to reach the rational basis standard. See

Amato v. Elicker, 2020 U.S. Dist. LEXIS 87758, *29 (D. Conn. May 19, 2020); South Bay

United Pentecostal Church v. Newsom, 2020 U.S. LEXIS 3041 (May 29, 2020). And

whether or not an independent “hybrid rights” claim theoretically exists is academic, as

the Second Circuit explicitly rejected any greater scrutiny than would apply in a First

Amendment analysis. Leebaert v. Harrington, 332 F.3d 134, 144 (2d Cir. 2003) (“We too

can think of no good reason for the standard of review to vary simply with the number

of constitutional rights that the plaintiff asserts have been violated); Doe v. Mastoloni,


                                              1
         Case 1:20-cv-00687-GTS-DJS Document 25 Filed 07/01/20 Page 3 of 6




No. 3:14-CV-00718 (CSH), 2016 U.S. Dist. LEXIS 17427 (D. Conn. Feb. 12, 2016) (applying

rational basis standard of review). The State’s reasoned and supported determination to

disallow overnight camps from operating in 2020 satisfies rational basis analysis. See

generally, Hutton Declaration (“Hutton Decl.”), Dkt. No. 17-3, Supplemental Hutton

Declaration (“Suppl. Hutton Decl.”).


   II.      Neither Residential Higher Education nor Day Camps Are Comparable to
            Overnight Camps

         At argument, counsel for plaintiffs argued that plaintiffs are challenging not the

Commissioner’s determination to disallow the opening of overnight camps in 2020, but

the Executive Orders closing all non-essential businesses, as modified by the State’s

reopening. However, plaintiffs are conflating the Governor’s authority to impose

restrictions pursuant to Article 2-b of the Executive Law and EOs 202, et seq., with the

determination made pursuant to that authority to disallow the opening of overnight

camps in summer 2020.

         Plaintiffs’ reliance on Litzman v. N.Y.C. Police Dep't, 2013 U.S. Dist. LEXIS 162968

(S.D.N.Y. Nov. 15, 2013), is misplaced. In that case, a probationary police officer was

disciplined and terminated based on a rule forbidding officers to wear beards over 1

millimeter. The court, in determining that de facto exemptions to the rule existed, limited

its analysis to exemptions to the 1 millimeter beard rule. For Litzman to be analogous to

the facts here, plaintiffs would have to demonstrate that the State had been allowing some

overnight camps to open in 2020 while refusing to allow their camps to open.
                                              2
      Case 1:20-cv-00687-GTS-DJS Document 25 Filed 07/01/20 Page 4 of 6




          None of the supposed exemptions posited by plaintiff are comparable to the

closure of overnight camps. Day camps and colleges do not involve the same level of risk

of COVID-19-related harm as overnight camps. See Hutton Decl., ¶¶ 59-80, Suppl.

Hutton Decl., ¶¶ 3-25. Two major factors that increase the risk of harm —the congregate

eating, sleeping, and activities inherent in overnight camps, and the lack of healthcare

resources sufficient to respond to the pandemic—distinguish overnight summer camps

from plaintiffs’ examples. Id. Counsel for plaintiffs stated at argument that if preliminary

relief were granted, 50 to 60 overnight camps would be housing as many as 40,000

children, with children sleeping “eight to 10 or 12” in each “bunkhouse.” See Transcript

of 6/30/20 hearing, at 22-24. Finally, with respect to theaters, “individuals do not

congregate day and night for weeks at a time in a theatre or lobby as children do at

overnight camps.” Suppl. Hutton Decl., ¶ 28.


   III.      Even if Strict Scrutiny Applied, the Closure of Overnight Camps Was
             Narrowly Tailored to Meet a Compelling State Interest

          “Under strict scrutiny, the challenged regulation must be narrowly tailored to

promote a compelling Government interest. The statute must use the least restrictive

means to achieve its ends. While this is a heavy burden, it is not true that strict scrutiny

is strict in theory, but fatal in fact.” Evergreen Ass'n v. City of N.Y., 740 F.3d 233, 246 (2d

Cir. 2014) (collecting cases) (internal citations and quotation marks omitted). “Controlling

the spread of the disease in order to contain the pandemic, minimize deaths, allocate scare

hospital resources, and prevent a larger public health catastrophe (with its attendant
                                              3
      Case 1:20-cv-00687-GTS-DJS Document 25 Filed 07/01/20 Page 5 of 6




other negative impacts on society) is a powerful compelling government interest.”

Murray v. Cuomo, No. 1:20-cv-03571-MKV, 2020 U.S. Dist. LEXIS 86391, at *29 (S.D.N.Y.

May 16, 2020). COVID-19 continues to devastate the people and economies of this country

and state. See Hutton Decl., ¶¶ 77-81, Suppl. Hutton Decl., ¶¶ 16-19.

       The State’s determination to close overnight camps was made in furtherance of its

compelling interest in combating COVID-19. The determination to close summer

overnight camps was narrowly tailored because it is no broader than necessary to meet

that interest. Based on facts and data, the Department of Health determined that to open

overnight camps in summer 2020 would represent an unacceptable risk to the heath of

camp-goers, staff, and the people of this State overall. See generally Hutton Decls. This

determination was limited in scope, as day camps have been allowed to open, and in

time, as the closure of summer camps is limited to the summer of 2020. See Hutton Decl.,

¶62, Exhibit S. Accordingly, the determination to disallow the operation of overnight

summer camps in 2020 survives strict scrutiny review. See Evergreen Ass'n v. City of

N.Y., 740 F.3d at 247-248; cf. Emp't Div. v. Smith, 494 U.S. 872, 888 (1990).

                                         CONCLUSION

       Plaintiffs have not met the heavy burden necessary to obtain preliminary

injunctive relief. Plaintiffs are not likely to succeed on the merits and have not shown

irreparable harm. The balance of hardships weighs in favor of the State, and an order




                                              4
      Case 1:20-cv-00687-GTS-DJS Document 25 Filed 07/01/20 Page 6 of 6




forcing the opening of overnight camps in 2020 would not be in the public interest.

Accordingly, plaintiffs’ application for preliminary injunctive relief should be denied.




Dated: Albany, New York
       July 1, 2020



                                             LETITIA JAMES
                                             Attorney General of the State of New York
                                             Attorney for Defendants Andrew M. Cuomo
                                                    and Letitia James
                                             The Capitol
                                             Albany, New York 12224

                                             By: s/ Chris Liberati-Conant
                                             Chris Liberati-Conant
                                             Assistant Attorney General, of Counsel
                                             Bar Roll No. 700466
                                             Fax: (518) 915-7738 (Not for service of papers)
                                             Email: christopher.liberati-conant@ag.ny.gov



TO:   Bennet J. Moskowitz
      Troutman, Sanders Law Firm - NY Office
      875 Third Avenue
      New York, NY 10022
      By ECF




                                            5
